Case 2:20-cv-02892-SHL-tmp Document 524-3 Filed 11/02/23 Page 1 of 4   PageID 32934




                     EXHIBIT
                     EXHIBIT B
                             B
                                                                                                                            Case 2:20-cv-02892-SHL-tmp Document 524-3 Filed 11/02/23 Page 2 of 4                                                                                 PageID 32935




                                                                                                                                                                                                                                 INTRODUCTION

                                                                                                                                                                                                This case is about classic monopolists operating in a unique market. Defendants have
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                                                                                                                         intentionally and successfully implemented an illegal anticompetitive scheme to acquire and
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                                                                                                                                                                                       xercise monopoly power over one of America’s iconic endeavors: cheerleading. Defendants did
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                                                                                 iin —4¢0 through the Varsity Cheer ecosystem, foreclosing and harming competition in the markets for
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LAYOUT © 1994 SCHAEDLER QUINZEL, INC. / MADE IN U.S.A,




                                                                                  <= Competitions, camps, and apparel. The record Plaintiffs have developed shows Defendants
                                                                                   =~                                                                                  =

                                                                                                                                                                                            arged supra-competitive prices in all three markets throughout the Class Period, extracting
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                                                                                                                                    —hundreds of millions of dollars of ill-gotten profits from cheer athletes and their families through

                                                                                                                                                                                        e anticompetitive scheme.

                                                                                                                                                                                                 For all the below reasons, Defendants’ Joint Motion for Summary Judgment must be



                                                                                                                                                                                                                    BACKGROUND FACTS AND CLAIMS!
                                                                                        a                                                             =                                          Varsity’s own internal documentation shows their market share for cheer competitions
                                                                                        us                                                                                        jincreased from roughly 42% in 2013 to over 80% in 2018 for All Star competitions that cater to

                                                                                         a                                                                                            All Start gym teams, while achieving 100% of the Varsity cheer competitions for school teams
        SCHAEDLER PRECISION RULE —(B) DECIMAL INCHES / AGATES / PICAS




                                                                                         = =                                                                                          throughout the Class Period. Ex. 1 [Netz report] at pg. 52: Ex. 2 [Netz Rebuttal] at §11. This was
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                                                                                                                                                                                       the selling point for both Bain and Charlesbank when they each acquired control of Varsity from
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                                                                                                                                                                                       its founder, Defendant Webb, and infused it with private equity capital. See e.g. Ex. 93 at -6023.
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                                                                                                                                                                                                 This market share alone demonstrates monopoly power. Generally, proofof more than

                                                                                                                                                                                       60% of market share creates presumptive monopoly power. See United States v. Grinnell C Orp.,

                                                                                                                                                                                       384 U.S. 563, 571, (1966); American Tobacco Co. v. United States, 328 U.S. 781. 797 (1946)

                                                                                                                                                                         ~ (over two-thirds of market constitutes a monopoly); Arthur S. Langenderfer. Inc. v. S.E. Johnson

                                                                                                                                                                                       Co., 917 F.2d 1413, 1443 (6th Cir.1990) (“There is substantial merit in a presumption that market
                                                                                        4
                                                                                 wv




                                                                                               =                                                                                       ' As cited herein, “PSOF” refers to Plaintiffs’ Additional Statement of Facts, filed herewith, and
                                                                                               =                                                                                       “RDSOF™ refers to Plaintiffs’ Response to Defendants’ Statement of Facts, filed herewith. Unless
                                                                                                =                                                                                      otherwise noted, all citations to exhibits herein (Ex. __”) are citations to the exhibits attached to
                                                                                                —                                                                           + the Declaration of Joseph R. Saveri, filed herewith.
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                                                                                                723—                                                                                       PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ JOINT            MOTION   FOR SUMMARY       JUDGMENT
Case 2:20-cv-02892-SHL-tmp Document 524-3 Filed 11/02/23 Page 3 of 4                                               PageID 32936




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